   Case 3:17-cv-01992-CCC Document 11 Filed 04/04/18 Page 1 of 4




                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

  PUERTO RICO LAND AND FRUIT
  Plaintiff-Counterclaim Defendant          CIVIL 17-1992CCC
  vs
  AQUASUR CORPORATION
  Defendant-Counterclaimant
  vs
  UNITED STATES FISH AND WILDLIFE
  SERVICES; DEPARTMENT OF
  NATURAL AND ENVIRONMENTAL
  SERVICES OF PUERTO RICO; SAN
  PEDRO ASSOCIATES, consisting of
  ANDRES NEVARES and his family;
  ALFREDO SANTAELLA, LUIS
  SANTAELLA and his family;
  MD CULEBRA PARTNERS, LP;
  UNKNOWN THIRD-PARTY
  DEFENDANTS A,B,C
  Third-Party Defendants



                           OPINION AND ORDER

       Before the Court is defendant-counterclaimant Aquasur Corporation’s

(“Aquasur”) Motion to Dismiss the Third-Party Complaint for Lack of Subject

Matter Jurisdiction and for Remand (d.e. 9) filed on October 18, 2017. The

motion is unopposed. For the reasons stated below, Aquasur’s Motion to

Dismiss is GRANTED.
    Case 3:17-cv-01992-CCC Document 11 Filed 04/04/18 Page 2 of 4


CIVIL 17-1992CCC                       -2-


   I.      FACTUAL AND PROCEDURAL BACKGROUND

         Plaintiff-counterclaim defendant Puerto Rico Land and Fruit S.E.

(“PRLF”) initially filed this lawsuit in the Superior Court of Fajardo, Puerto Rico

First Instance Court. On March 9, 2017, PRLF filed a third party complaint

to add Puerto Rico’s Department of Natural and Environmental Resources

(“DRNA”), the United States Fish and Wildlife Services (“USFWS”), Andres R.

Nevares, Luis Santaella, MD Culebra Partners, LP, and Unknown Third-Party

Defendants A, B, C, and D as essential parties for the disposition of all issues

in the state court claim, which includes demarcating the boundaries of the

parties’ properties.    On July 21, 2017, USFWS removed the third party

complaint to this Court under 28 U.S.C. § 1442(a)(1).               In response,

defendant-counterclaimant Aquasur Corporation (“Aquasur”) moves to

dismiss the Third-Party Complaint for lack of subject matter jurisdiction under

Fed. R. Civ. P. 12(b)(1) and to remand the remainder of the case to the

Superior Court of Fajardo, Puerto Rico First Instance Court, under 28 U.S.C.

§ 1447(c).

   II.     DISCUSSION

         “Federal courts are courts of limited jurisdiction.”     Colon v. Diaz,

174 F.Supp. 3d 667, 669 (D.P.R. 2016) (quoting Rolón v. Rafael Rosario &

Associates, Inc., et al., 450 F.Supp. 2d        53, 156 (D.P.R. 2006)).       This

familiar principle means that federal courts can only hear cases that have

subject matter jurisdiction, i.e., that arise under federal law or involve diverse
    Case 3:17-cv-01992-CCC Document 11 Filed 04/04/18 Page 3 of 4


CIVIL 17-1992CCC                        -3-


parties. If a case does not contain a federal question or include parties from

different jurisdictions, it does not belong in federal court.

      FRCP 12(b)(1) “provides the vehicle by which a party may challenge the

court's subject matter jurisdiction.”         UBS Financial Services Inc. v.

Asociacion de Empleados del Estado Libre Asociado de Puerto Rico,

223 F.Supp. 3d 134 (D.P.R. 2016).         When reviewing motions to dismiss

under Rule 12(b)(1), courts follow a similar standard to other motions under

Rule 12(b) and “credit the non-movant's well-pled factual allegations and draw

all reasonable inferences in the non-movant's favor.” Id. “If it appears at

any time that the Court lacks the statutory or constitutional power to adjudicate

the case, the suit must be dismissed.” Id. (referring to Arbaugh v. Y&H Corp.,

546 U.S. 500, 514, 126 S.Ct. 1235, 163 L.Ed. 2d 1097 (2006).

      In its unopposed motion, Aquasur cites the Quiet Title Act, 28 U.S.C.

§ 2409(a), and Section 1346(f) of the Judicial Code, 28 U.S.C. § 346(f), to

argue that U.S. District Courts have exclusive jurisdiction over boundary

disputes involving the United States or its instrumentalities, and consequently

the instant action should be dismissed. A reading of these statutes support

its position.   Section 1346(f) states that: “[t]he district courts shall have

exclusive original jurisdiction of civil actions under section 2409(a) to quiet title

to an estate or interest in real property in which an interest is claimed by the

United States.” The statute is clear that state courts do not have jurisdiction

to hear this type of claim.     Removal by the USFSW was thus improper.
    Case 3:17-cv-01992-CCC Document 11 Filed 04/04/18 Page 4 of 4


CIVIL 17-1992CCC                        -4-


See Bee Mach Co. v. Freeman, 131 F.2d 190, 294 (1st Cir. 1942) (quoting

State of Minnesota v. U.S., 305 U.S. 382, 388, 59 S.Ct. 292, 295, 83 L.Ed.

35 (1939), stating in relevant part that: “[i]f Congress did not grant permission

to bring this condemnation proceeding in a state court, the federal court was

without jurisdiction upon its removal. For jurisdiction of the federal court on

removal is, in a limited sense, a derivative jurisdiction. Where the state court

lacks jurisdiction of the subject matter or of the parties, the federal court

acquires none, although in a like suit originally brought in a federal court it

would have had jurisdiction.”).      The USFWS’s removal under 28 U.S.C.

§ 1442(a)(1) does not grant this court subject matter jurisdiction. Given that

all the parties reside in Puerto Rico, there is no diversity jurisdiction either.

      Because there is no basis for subject matter jurisdiction, the Aquasur’s

motion is GRANTED and third-party complaint is dismissed under

Rule 12(b)(1). The remainder of this case shall be remanded to the Superior

Court of Fajardo, Puerto Rico Court of First Instance, by separate order.

      SO ORDERED.

      At San Juan, Puerto Rico, on April 4, 2018.



                                              S/CARMEN CONSUELO CEREZO
                                              United States District Judge
